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                      Exhibit 1
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ATTORNEYS AT LAW


                                                                       EX PARTE — IN CAMERA SUBMISSION

                                                                                             October 6, 2022
        VIA EMAIL
        Honorable Amy Berman Jackson
        United States District Court for the
          District of Columbia
        333 Constitution Avenue, NW
        Washington, DC 20001

                 Re:      United States v. Michael Angelo Riley, 21-cr-628-ABJ

        Dear Judge Jackson:

               I write in response to the Court’s October 1, 2022 Minute Order that required counsel for
        Defendant Michael Angelo Riley to “supply the Court with an offer of proof, which may be
        submitted to the Court in camera and ex parte, that summarizes the planned examination of the
        witness [Jacob Hiles] and the anticipated testimony in greater detail by October 7, 2022.”

               The defense can advise the Court that undersigned counsel received written authorization
        from Jacob Hiles’ counsel to speak directly to Jacob Hiles in preparation for his testimony as a
        defense witness in the upcoming trial that is scheduled for October 17, 2022. During multiple phone
        conferences, Mr. Hiles has been cooperative and responsive, and the defense anticipates asking
        open-ended direct examination questions that will elicit the following facts material to Officer
        Riley’s defense:

             •   Prior to January 7, 2022, Mr. Hiles had never communicated with Officer Riley in any
                 manner or met him. Mr. Hiles is a professional fisherman and well known in the industry,
                 and both he and Officer Riley were active in fishing communities and had common friends
                 on Facebook.

             •   When Officer Riley sent a message to Mr. Hiles to remove a portion of his Facebook post
                 about being inside the Capitol, Mr. Hiles did not remove anything. In subsequent phone
                 calls with Officer Riley, Mr. Hiles recalls they discussed their shared experiences relating
                 to January 6, Mr. Hiles from the perspective of a protestor, and Officer Riley from that of a
                 Capitol Police Officer. At no time, did Officer Riley give Mr. Hiles any instructions on
                 destroying evidence, such as getting rid of his phone, discarding the clothes he wore on
                 January 6, 2021, or deleting his Facebook account, nor did Officer Riley tell Mr. Hiles to
                 lie to anyone regarding his conduct, or to not cooperate with law enforcement, or any other
                 such similar conduct. At no time, did Mr. Hiles or Officer Riley ever discuss a grand jury
                 proceeding.
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    •    According to Mr. Hiles, Officer Riley did not discuss with him that a law enforcement
         officer was aware of Mr. Hiles and had reported him (as will be established at trial).

    •    Mr. Hiles did not believe Officer Riley was trying to take actions to prevent Mr. Hiles from
         getting arrested; according to Mr. Hiles, he knew his “goose was cooked,” with the various
         cameras inside the U.S. Capitol and his various posts on Facebook, which were viewed by
         the thousand friends he had on Facebook. Mr. Hiles did not believe that Officer Riley was
         leading him out of getting into trouble, rather, Mr. Hiles would testify that he interpreted
         Officer Riley’s direct message to take down the portion of his Facebook post about being
         inside the U.S. Capitol as guidance to “not to make things worse for him.”

    •    Mr. Hiles believed that he would only be subjected to prosecution for trespassing, as he did
         not assault or threaten anyone, or steal or destroy any property inside the U.S. Capitol
         (which is corroborated by Mr. Hiles’ text messages). Mr. Hiles knew what he did and knew
         that he would one day have to face the consequences. Mr. Hiles did not subjectively believe
         he would be charged with any felony offense or indicted by a grand jury and when arrested,
         he accepted responsibility for the conduct that he actually did.

         The defense reserves its right to amend, modify, and/or expand the facts it intends to elicit

at trial from its witness Mr. Hiles (including, asking questions relating to any text or Facebook

messages sent by Mr. Hiles that are moved into evidence by the Government) to the extent

necessary.

                                         Sincerely,

                                         SILVERMAN THOMPSON SLUTKIN & WHITE LLC



                                         Christopher Macchiaroli, Esq.
